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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                     ROME DIVISION

 IN RE:                                        :        CHAPTER 7
                                               :
 RHONDA T. EDEN,                               :
                                               :        CASE NO. 17-40811-BEM
                                               :
                        Debtor.                :

                                  TRUSTEE'S REPORT OF SALE

          COMES NOW Tracey L. Montz, Chapter 7 Trustee in the case of the above-named

 Debtor, and respectfully represents:

                                                   1.

          On April 4, 2017, a voluntary Chapter 7 petition was filed by the above-named Debtor.

 Tracey L. Montz is the duly qualified and acting Chapter 7 Trustee in this case.

                                                   2.

          By Order entered April 2, 2019 (Dkt.#103), this Court authorized the Trustee to transfer

 the Debtor’s interest in K & M Hardware, Inc. to Chris Eden for $1,000.00 as part of a larger

 settlement with Chris Eden.

                                                   3.

          The funds were received on April 29, 2019, and deposited into the estate bank account.

 Dated:          May 21, 2019.

                                                        /s/ Tracey L. Montz
                                                        Tracey L. Montz
                                                        Chapter 7 Trustee
 2146 Roswell Rd. #108-406
 Marietta, GA 30062
 (404) 713-6472
 traceymontz@yahoo.com
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                                  CERTIFICATE OF SERVICE


        THIS IS TO CERTIFY that I have this date served the within and foregoing TRUSTEE'S

 REPORT OF SALE upon the following parties by depositing a true and correct copy of same in the

 United States Mail, first class postage prepaid and addressed as follows:


                        Office of the United States Trustee
                        362 Richard B. Russell Federal Building
                        75 Ted Turner Dr., S.W.
                        Atlanta, GA 30303-3311

                        Brian S. Limbocker, Esq.
                        Bldg. 800, Suite 140
                        2230 Towne Lake Pkwy
                        Woodstock, GA 30189


        Dated:          May 21, 2019



                                               /s/ TRACEY L. MONTZ
                                               Tracey L. Montz
                                               Chapter 7 Trustee


 2146 Roswell Rd. #108-406
 Marietta, GA 30062
 (404) 713-6472
 traceymontz@yahoo.com
